            Case NYS/1:21-cv-09454 Document 10 Filed 01/04/22 Page 1 of 7




                           BEFORE THE UNITED STATES
                  JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

 IN RE PROCTER & GAMBLE AEROSOL
                                                       MDL No. 3025
 PRODUCTS, MARKETING, AND SALES
 PRACTICES LITIGATION

             PLAINTIFFS ANGELA LEYVA, ANDREA FAHEY,
OTTO DELCID, AND NICOLE ASENCIO’S RESPONSE TO DEFENDANT PROCTER
     & GAMBLE’S MOTION FOR TRANSFER AND COORDINATION OR
             CONSOLIDATION PURSUANT TO 28 U.S.C. § 1407

       Plaintiffs Angela Leyva and Andrea Fahey, the plaintiffs in Leyva, et al. v. The Procter &

Gamble Company, No. 4:21-cv-10108 (S.D. Fla.), Plaintiff Otto Delcid, the plaintiff in Delcid v.

The Procter & Gamble Company, No. 1:21-cv-09454 (S.D.N.Y.), and Plaintiff Nicole Asencio,

the plaintiff in Asencio v. The Procter & Gamble Company, No. 7:21-cv-11212 (S.D.N.Y.)

(collectively “Plaintiffs”), by and through their undersigned counsel, respectfully submit this

memorandum in support of Defendant The Procter & Gamble Company’s (“Defendant”) Motion

For Transfer And Coordination Or Consolidation Pursuant To 28 U.S.C. § 1407. Movants agree

that the twenty-two (22) pending actions in this multidistrict proceeding should be transferred

and coordinated or consolidated for pretrial proceedings in the Southern District of Florida,

before the Honorable Judge Darrin P. Gayles, to whom the first-filed action was assigned. In the

alternative, Plaintiffs propose full or partial consolidation in the Southern District of New York,

as discussed below, before the Honorable Vincent L. Briccetti, to whom the Asencio action is

assigned.

       28 U.S.C. § 1407(a) provides that “[w]hen civil actions involving one or more common

questions of fact are pending in different districts, such actions may be transferred to any district

for coordinated or consolidated pretrial proceedings. Such transfers shall be made by the judicial

panel on multidistrict litigation authorized by this section upon its determination that transfers
          Case NYS/1:21-cv-09454 Document 10 Filed 01/04/22 Page 2 of 7




for such proceedings will be for the convenience of parties and witnesses and will promote the

just and efficient conduct of such actions.” All such factors are met here and support

consolidation of the actions in the United States District Court for the Southern District of

Florida before Judge Gayles, or the United States District Court for the Southern District of New

York before Judge Briccetti.

                                          ARGUMENT

  I.   CENTRALIZATION IS WARRANTED BECAUSE THERE ARE COMMON
       QUESTIONS OF FACT IN ALL ACTIONS, AND CENTRALIZATION WILL
       PROMOTE JUDICIAL EFFICIENCY

       First, all twenty-two (22) actions concern the same or similar questions of fact regarding

the benzene contamination in Defendant’s aerosol propellant products. Specifically, nineteen of

the cases concern benzene contamination in Defendant’s aerosol Secret and Old Spice brand

antiperspirant products. Three recently filed actions, the Clayton, Blake, and Asencio actions,

stem from benzene contamination in Defendant’s aerosol dry shampoo and dry conditioner

products. See MDL Dkt. 29; S.D. Fl. Case No. 1:21-cv-24426 (Clayton); S.D. Ohio. Case No.

1:21-cv-24426 (Blake); S.D.N.Y. Case No. 7:21-cv-11212 (Asencio). Though there are two

different types of products at issue (antiperspirants and dry shampoo/conditioners), the defect

appears to stem from same problem plaguing Defendant’s aerosol propellant delivery system.

All of these cases will focus on the defect, the levels of benzene in the products, whether

Defendant knew or should have known that the products contained elevated levels of benzene,

and whether the marketing, advertising, packaging, labeling and other promotional materials for

the products are deceptive. In re Johnson & Johnson Aerosol Sunscreen Marketing, Sales

Practices And Products Liability Litigation, --- F. Supp. 3d ---, 2021 WL 4704800, at *1

(J.P.M.L. Oct. 8, 2021) (“All actions can be expected to share factual questions arising from



                                                 2
          Case NYS/1:21-cv-09454 Document 10 Filed 01/04/22 Page 3 of 7




allegations that plaintiffs purchased sunscreens manufactured by J&J defendants that contained

excessive amounts of benzene.”).

       Further, at this time, there are twenty-two actions from twelve (12) different districts

containing similar allegations, which is more than sufficient to support consolidation. In re

Wesson Oil Mktg. & Sales Practices Litig., 818 F. Supp. 2d 1383, 1383 (J.P.M.L. 2011)

(ordering transfer and consolidation where six related cases in two separate districts were before

the Panel); In re Seresto Flea and Tick Collar Marketing, Sales Practices, and Prods. Liab.

Litig., --- F. Supp. 3d ---, 2021 WL 3523464, at *1 (J.P.M.L. Aug. 11, 2021) (ordering transfer

and consolidation where sixteen related actions in seven separate districts were before the Panel).

Accordingly, the first factor supports centralization.

       Second, centralization would be more convenient for the parties and witnesses than

litigating the actions separately. The Panel has found that the convenience requirement is met

when transfer and consolidation “will eliminate duplicative discovery, the possibility of

inconsistent rulings on class certification and other pretrial matters, and conserve judicial and

party resources.” In re Sensipar (Cinacalcet Hydrochloride Tablets) Antitrust Litig., 412 F.

Supp. 3d 1344, 1346 (J.P.M.L. 2019); see also In re: Capacitors Antitrust Litig. (No. III), 285 F.

Supp. 3d 1353, 1355 (J.P.M.L. 2017) (transferring actions where centralization “will eliminate

duplicative discovery; prevent inconsistent pretrial rulings; and conserve the resources of the

parties, their counsel, and the judiciary.”); MULTIDISTRICT LITIGATION MANUAL (Fourth),

§ 20.131 (2010) (“The objective of transfer is to eliminate duplication in discovery, avoid

conflicting rulings and schedules, reduce litigation costs, and save the time and effort of the

parties, the attorneys, the witnesses, and the courts.”). Absent centralization, duplicative

discovery and motion practice would take place in courts across the country due to the similar



                                                  3
          Case NYS/1:21-cv-09454 Document 10 Filed 01/04/22 Page 4 of 7




factual and legal issues presented by the actions. Indeed, plaintiffs in the twenty-two related

actions are represented by different law firms, making the potential for informal coordination and

cooperation between the parties in the existing actions difficult and unlikely. As such, the

second factor easily supports centralization.

 II.   CENTRALIZATION IN THE SOUTHERN DISTRICT OF FLORIDA BEFORE
       JUDGE GAYLES IS PROPER

       Centralization before the Honorable Darrin P. Gayles in the Southern District of Florida

will promote the just and efficient use of judicial resources and substantially reduce litigation

costs. Judge Gayles presides over the first-filed action in the nation concerning the benzene

contamination of Defendant’s products. In re Johnson & Johnson Aerosol Sunscreen Marketing,

Sales Practices And Products Liability Litigation, 2021 WL 4704800, at *2 (transferring MDL to

the Southern District of Florida where “[t]he first-filed case is pending in this district before

Judge Anuraag Singhal”). Further, the Southern District of Florida “offers a convenient and

readily accessible district.” Id.; see also In re Zantac (Ranitidine) Products Liability Litigation,

437 F. Supp. 3d 1368, 1370 (J.P.M.L. 2020) (noting the Southern District of Florida “is a

relatively convenient and accessible forum, with the resources and the capacity to efficiently

handle what could be a large litigation.”). As noted in Defendant’s Motion, the average pending

cases per judgeship in the Southern District of Florida is significantly lower than the average

case load of the possible alternative forums. ECF No. 22-1 at 11. Moreover, Judge Gayles has

experience managing an MDL of a similar size. See In re Monat Hair Care Products Marketing,

Sales Practices, and Products Liability Litigation, MDL No. 2841. In addition, the Southern

District of Florida serves as the venue for three out of the twenty-two cases already filed. See In

re Mednax Servs., Inc., Customer Data Sec. Breach Litig., MDL No. 2994, 2021 WL 2371289,

at *2 (J.P.M.L. June 4, 2021) (noting that two of the six pending actions were filed in the


                                                  4
          Case NYS/1:21-cv-09454 Document 10 Filed 01/04/22 Page 5 of 7




Southern District of Florida as a factor). Thus, the third factor weighs in favor of centralization

before Judge Gayles in the Southern District of Florida.

III.   IN THE ALTERNATIVE, CENTRALIZATION IN THE SOUTHERN DISTRICT
       OF NEW YORK BEFORE JUDGE BRICCETTI IS PROPER

       Alternatively, centralization in the Southern District of New York will also serve the

convenience of the parties and witnesses. One action is currently pending before Judge Briccetti

in the Southern District of New York: Asencio v. The Procter & Gamble Company, No. 7:21-cv-

11212 (S.D.N.Y.). Three other actions are also pending in either the Southern District of New

York or the neighboring Eastern District of New York: Toporek v. The Procter & Gamble

Company, No. 2:21-cv-06185 (E.D.N.Y.), Delcid v. The Procter & Gamble Company, No 1:21-

cv-09454 (S.D.N.Y.), and Freund v. The Procter & Gamble Company, No. 1:21-cv-06934

(E.D.N.Y.). Further, the Southern District of New York is a convenient forum for an MDL, such

as this one, that is nationwide in scope and will require ease of transport for counsel and parties

from across the United States. Thus, the Southern District of New York is convenient for the

parties and witnesses.

       Second, the Southern District of New York is an efficient forum. The Southern District of

New York is not terribly congested, with only 466 filings per judgeship (43rd in the nation) and

688 pending cases per judgeship (20th in the nation). The Southern District in New York also

ranks 11th in the nation in median time from the filing of a civil case to its disposition (6.7

months). 1 Thus, centralization before in the Southern District of New York is likely to promote

the “just, speedy, and inexpensive determination” of these actions. Fed. R. Civ. P. 1.




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   United Stats District Courts – National Judicial Caseload Profile (Mar. 31, 2021),
https://www.uscourts.gov/sites/default/files/data_tables/fcms_na_distprofile0331.2021.pdf.

                                                 5
          Case NYS/1:21-cv-09454 Document 10 Filed 01/04/22 Page 6 of 7




       Finally, should these cases be centralized in the Southern District of New York, they

should be assigned to the Honorable Vincent L. Briccetti. “[C]entralization before the

Honorable [Vincent L. Briccetti] allows [the Panel] to assign this litigation to an able jurist who

has not yet had the opportunity to preside over an MDL.” In re Zantac (Ranitidine) Prods. Liab.

Litig., 437 F. Supp. 3d, at 1370. Incorporating new jurists into the MDL process has been a point

of focus for this Panel. Amanda Bronstad, Rookie Judges Start to Wrangle MDL Dockets, NAT’L

L. J. (Aug. 20, 2017) (“There has been an effort to reach out to newer judges, to bring them into

the MDL process, so as to give a greater MDL experience to the judiciary as a whole.”). This is

because new judges are also “often willing to explore new ways of approaching the complexity

of MDL, challenging traditional assumptions held by the more experienced judges.” Id. To that

end, Judge Briccetti is a competent jurist who has experience with consolidated consumer class

actions. See, e.g., In re Scotts EZ Seed Litig., No. 7:12-cv-04727 (S.D.N.Y.); In re Welspun

Litig., No. 7:16-cv-06792 (S.D.N.Y.). Further, Judge Briccetti has presided over a substantially

similar action involving a consumer product contaminated with methanol, where he recently

ruled on a motion to dismiss. See generally Pepe v. 4e Brands North America, LLC, No. 7:20-

cv-06494, Dkt. No. 35 (S.D.N.Y. Sep. 22, 2021) His experience with consolidated class

actions—particularly class actions involving benzene contaminations—and his newness to the

MDL format will be of great benefit to all parties. Accordingly, Judge Briccetti is a logical

choice for consolidation.

       To the extent that the Panel believes it appropriate to separate cases concerning

Defendant’s aerosol antiperspirants from cases concerning Defendant’s dry shampoo and

conditioner products, Plaintiffs further propose that the Panel transfer the cases concerning




                                                 6
          Case NYS/1:21-cv-09454 Document 10 Filed 01/04/22 Page 7 of 7




antiperspirants to the Southern District of Florida, and transfer cases concerning dry shampoo

and conditioners to the Southern District of New York.

                                          CONCLUSION

       For the reasons stated above, Plaintiffs respectfully request that the Panel grant the

present Motion for Transfer, and enter an Order transferring all related actions, as well as any

related cases that may be filed subsequently, to the Southern District of Florida for coordination

or consolidation pursuant to 28 U.S.C. § 1407, and assign the proceedings to the Honorable

Darrin P. Gayles. In the alternative, Plaintiffs respectfully request that the Panel enter an Order

transferring all related actions, as well as any related cases that may be filed subsequently, to the

Southern District of New York for coordination or consolidation pursuant to 28 U.S.C. § 1407,

and assign the proceedings to the Honorable Vincent L. Briccetti. To the extent that the Panel

believes it appropriate to separate cases concerning Defendant’s aerosol antiperspirants from

cases concerning Defendant’s dry shampoo and conditioner products, Plaintiffs request that cases

concerning antiperspirants be transferred to the Southern District of Florida, and that cases

concerning dry shampoos and conditioners be transferred to the Southern District of New York.

Dated: January 4, 2022                                Respectfully submitted,

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